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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                         WACO DIVISION

       WSOU INVESTMENTS, LLC d/b/a                    §
       BRAZOS LICENSING AND                           §
       DEVELOPMENT,                                   §
                                                      §       Case No. 6:20-cv-584-ADA
       Plaintiff,                                     §
                                                      §
       v.                                             §       JURY TRIAL DEMANDED
                                                      §
       GOOGLE LLC,                                    §
                                                      §
       Defendant.                                     §
                                                      §

    INDEX OF NON-CONFIDENTIAL DOCUMENTS TO _GOOGLE’S MOTION FOR
     SUMMARY JUDGMENT OF NON-INFRINGEMENT AND PARTIAL SUMMARY
                       JUDGMENT OF INVALIDITY

         The following documents are publicly filed as attachments to the above-referenced sealed

document:

         1. Exhibits 1, 11, 12, 13, 14 and 15.

Date: June 28, 2023                               Respectfully submitted,

                                                  /s/ T. Gregory Lanier, with permission by
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